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       EXECUTIVE COMMITTEE MINUTES
     LIBERTARIAN NATIONAL COMMITTEE
             FEBRUARY 5, 2023
                 VIA ZOOM




   CURRENT STATUS:                                             FINAL

         PREPARED BY CARYN ANN HARLOS, LNC SECRETARY




                                  EXHIBIT 61
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 LEGEND: text to be inserted, text to be deleted, unchanged existing text,
 substantive final main motions.

 All main substantive motions will be set off by bold and italics in green font (with
 related subsidiary and incidental motions set off by highlighted italics) and will be
 assigned a motion number comprising the date and a sequential number to be recorded
 in the Secretary's Main Motion/Ballot Tally record located at
 https://tinyurl.com/LNCVotes2023

 Points of Order and substantive objections will be indicated in BOLD RED TEXT.

 All vote results, challenges, and rulings will be set off by BOLD ITALICS.

 The Secretary produces an electronic One Note notebook for each meeting that contains
 all reports submitted as well as supplementary information. The notebook for this
 meeting can be found at: https://tinyurl.com/Feb2023LNCMeeting

 The LPedia article for this meeting can be found at:
 https://lpedia.org/wiki/LNC_Executive_Committee_Meeting_5_February_2023

 Recordings for this meeting can be found at the LPedia link.

 The QR codes lead to the video portion of the video being discussed.


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                                                   OPENING CEREMONY

 CALL TO ORDER

 Chair Angela McArdle called the meeting to order at 8:12 p.m. (all times Eastern).

                                                         HOUSEKEEPING

 EXECUTIVE COMMITTEE MEMBER ATTENDANCE

 The following were in attendance:1

 Officers: Angela McArdle (Chair), Caryn Ann Harlos (Secretary), Todd Hagopian
 (Treasurer)

 Non-Officers: Rich Bowen (At-Large), Bryan Elliott (At-Large), Steven Nekhaila (At-
 Large)

 REMAINING LNC MEMBER ATTENDANCE

 At-Large Representatives: Dustin Blankenship, Mike Rufo

 Regional Representatives: Miguel Duque (Region 1), Dave Benner (Region 2), Dustin
 Nanna (Region 3), Carrie Eiler (Region 4), Andrew Watkins (Region 5), Linnea Gabbard
 (Region 7), Pat Ford (Region 8)

 Regional Alternates: Kathy Yeniscavich (Region 1), Martin Cowen (Region 2), Randall
 Daniel (Region 3), Otto Dassing (Region 5), Mark Tuniewicz (Region 6), Donavan Pantke
 (Region 7)

 Absent: Joshua Clark (Region 4 Alternate), Joseph Ecklund (Region 6 Representative),
 Robley Hall (Region 8 Alternate), Joshua Smith (Vice-Chair)

 Additional Attendees: None

 The gallery contained many attendees as noted in the Registration Roster attached
 hereto as Appendix A comprising person who registered in advance, though not all of
 the registrants attended.

                      PURPOSE OF EXECUTIVE COMMITTEE MEETING



         1
             Mr. Tuniewicz arrived after the initial attendance roll call.


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 The purpose of this meeting was to discuss updates on legal issues in some of our
 affiliates (Colorado, Massachusetts, Michigan, New Mexico, and Virginia) as well as staff
 updates.

                                 EXECUTIVE SESSION

 WITHOUT OBJECTION, the Executive Committee went into Executive Session at 6:21 p.m.
 p.m. with the rest of the LNC present for purposes of legal and staff updates. The LNC arose
 out of Executive Session at 10:09 p.m.

                                    ADJOURNMENT

 The Executive Committee adjourned for the day WITHOUT OBJECTION at 10:10 p.m.

 Respectfully submitted,




 LNC Secretary ~ Secretary@LP.org ~ 561.523.2250




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 APPENDIX A
 LOG OF REGISTRANTS

 APPENDIX A – LOG OF REGISTRANTS

                                                   REGISTRATION SHEET2

                                         NAME
                                         Sylvia Arrowwood
                                         Tyler Bakken
                                         Travis Bost
                                         Time Buchanan
                                         Andrew Chadderdon
                                         Nickolas Ciesielski
                                         Dean Davison
                                         Christopher Deist
                                         Stephen Ecker
                                         Bryan Elliott
                                         Brodi Elwood
                                         Tim Hagan
                                         Todd Hagopian
                                         Wayne Harlos
                                         Rick Heffelfinger
                                         Michael Heise
                                         Susan Hogarth
                                         Sara Isenhour
                                         Andrew Jacobs
                                         Jonathan Jacobs
                                         TJ Kosin
                                         Jennifer Leatherbury
                                         Travis Lerol
                                         Matthew Lorence
                                         Nathan Madden
                                         Olga Maria
                                         Ken Mattes
                                         Irene Mavrakakis
                                         Matt Murphy
                                         Connor Nepomuceno
                                         Michael Pakko

 2
  The Zoom link required registration. This list comprises all persons who registered (with the exception of LNC members, staff, and other
 national Party representatives) but not everyone necessarily attended.


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                       George Phillies
                       Aloysius Smart
                       Eric Thraen
                       Scott Ullery
                       Beth Vest
                       Daniel Ziemba




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